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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

    UNITED STATES OF AMERICA,                    )
                                                 )
    v.                                           ) Docket No. 2:19-cr-00175-NT
                                                 )
    ALEXIS BOYD,                                 )
                                                 )
                       Defendant.                )


               ORDER ON DEFENDANT’S MOTION TO SUPPRESS

         Defendant Alexis Boyd is charged with possession of fentanyl and heroin with

intent to distribute, in violation of 21 U.S.C. § 841(a)(1). Before me is the Defendant’s

motion to suppress all evidence seized by police officers during a traffic stop. Def.’s

Mot. to Suppress Evid. (“Def.’s Mot.”) (ECF No. 42). I held a hearing on the

Defendant’s motion on October 27, 2021 (ECF No. 76). For the reasons set forth below,

I GRANT the Defendant’s motion to suppress.


                                       BACKGROUND

         On June 26, 2019, Maine State Trooper John Darcy (“Darcy”) 1 stopped a Kia

Sedona minivan with Maine plates (the “minivan”) while it was traveling northbound

on the Maine Turnpike in York. Darcy’s cruiser cam video, which recorded the one

minute of driving that preceded the traffic stop, shows the minivan driving in the far-

right lane of the three northbound lanes. Darcy’s police cruiser is positioned in the

middle lane behind the minivan, approximately two-to-three car lengths back until



1       John Darcy was a Maine State Trooper when he conducted the traffic stop in June of 2019. He
has since become a corporal. To avoid confusion, I refer to him simply as “Darcy” in this order.
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he activates his blue lights and pulls the minivan over. In the video, the minivan

appears to be traveling at a steady speed, and no other northbound vehicles overtake

the car. The driver of the minivan clearly favors the right side of his lane, but at no

time does the minivan swerve or drift within its lane. While the video shows the

minivan’s right tires very close to the fog line 2 and possibly touching the line a couple

of times, it is not clear that the tires actually contact the fog line. 3 It is clear, however,

that the vehicle never crosses over the fog line.

        Approximately one minute into the video, Darcy activates his blue lights, and

the minivan immediately (and for the first time) crosses the fog line and pulls over

into the breakdown lane, where it stops. 4 After making the stop, Darcy approaches

the passenger window of the minivan and addresses the two occupants—driver

Donald Green and passenger Alexis Boyd, the Defendant. Both Green and Boyd are

Black, and Green is wearing his hair in dreadlocks. Darcy informs Green that he was

stopped because “two times, almost three times” Green was “swerving into the right




2       “The term ‘fog line’ generally refers to the white line on the right-hand side of a road that
separates the driving lane from the shoulder.” United States v. Lawrence, 675 F. App’x 1, n.1 (1st Cir.
2017) (quoting United States v. Diaz, 802 F.3d 234, 238 n.8 (2d Cir. 2015)).
3        Because Darcy’s cruiser is not in the same lane as the minivan, the cruiser cam records the
car at an angle, making it difficult to discern exactly where the minivan’s right tires are in relation to
the far-side fog line. Darcy presumably had the same view from his vantage point in the driver’s seat
of the cruiser.
4       Darcy wrote up the traffic stop in a Maine State Police Continuation Report. According to
Darcy’s police report, Darcy “was traveling northbound on the Maine turnpike in York,” and he saw
the minivan traveling ahead of him in the right-hand lane. The report states that Darcy “observed the
vehicle cross the fog line into the breakdown lane on three separate occasions” and that he “stopped
the vehicle for failing to maintain its lane.”



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lane” and “going like 45” miles per hour. 5 Darcy asks whether Green was falling

asleep or drinking or texting or “anything like that.” From what I can tell, 6 Green

says no. Darcy later wrote in his report and testified at the suppression hearing that

he did not see any signs that Green was fatigued or impaired. Darcy then questions

whether Green might have been “messing around with the GPS or something.” Green

responds affirmatively, and Darcy advises Green to try to have his passenger operate

the GPS so Green can focus on the road because, Darcy says, “a couple times it looked

like you were going to go off into the ditch or something.”

       Darcy requests identification from both occupants, which they produce, and

Darcy questions Green as to why his driver’s license shows that he is from

Connecticut but he is driving a Maine-registered vehicle. Darcy tells Green that he

cannot hear and has him step out of the car. Green gets out of the minivan, and Darcy

tells Boyd to stay in the car to continue looking for the vehicle’s registration. Once

out of the minivan, Green consents to a pat-down, and Darcy confirms that Green is

unarmed.

       Darcy resumes his questioning of Green near the front of the cruiser. Green

explains that he lived in Maine with his cousins for two months and that he was

returning to Maine for a funeral because his aunt died. Green also says that he runs

a foundation supporting children in public schools and that Boyd is an artist with the



5       The speed limit on the Maine Turnpike in the vicinity of the stop was a maximum of seventy
miles per hour and a minimum of forty-five miles per hour.
6       The audio in the cruiser cam footage is sometimes difficult to make out due to the road noise
of passing traffic and the loud music that was left playing in Darcy’s cruiser during the stop.



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foundation. Green says he cannot remember the name of the town in Maine where he

previously lived, but he recalls the address, which he has in the GPS, being something

like Bolling Drive. Green tells Darcy that he and Boyd will probably be in Maine until

Friday (the traffic stop occurred on a Wednesday night).

       Darcy then goes back to the passenger window of the minivan and speaks to

Boyd. He asks her their destination, and she supplies Bangor as the missing town

name. When Darcy asks Boyd why she is going to Bangor, Boyd says that she is going

to visit her aunt who is sick with cancer. Darcy asks Boyd about her relationship to

Green, and she says that they are cousins. In response to Darcy’s question about the

length of her stay, Boyd tells Darcy that they plan to stay in Bangor for a few days.

       Leaving Boyd in the minivan and Green outside, Darcy returns to his cruiser

and immediately calls for Trooper Jodell Wilkinson to bring her drug-sniffing dog to

the scene. 7 After he requests the assistance of the female trooper and her dog, Darcy

runs the information from Green’s and Boyd’s licenses through the Maine Bureau of

Motor Vehicles (“BMV”) database and learns that Green’s license is suspended. Darcy

did not find any issues with Boyd’s license.

       When Trooper Wilkinson arrives, 8 she has her dog conduct a sniff of the

vehicle. The dog alerts to the presence of narcotics at the front of the minivan. Darcy

and Wilkinson then search both Green and Boyd, as well as the inside of the vehicle.



7       Darcy testified at the suppression hearing that based on “huge differences” in the pair’s
statements about their destination and their relationship, he believed there was criminal activity
taking place because, in his view, “there was no other reason for those large discrepancies.”
8      A third trooper also responds to the scene to assist.



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Inside Boyd’s backpack, in the trunk area of the minivan, Darcy finds fifty-two grams

of a substance that preliminarily tested as heroin. Green and Boyd are then

handcuffed and taken into custody, and Boyd is later charged with possession with

intent to distribute.


                                    DISCUSSION

      Boyd, the Defendant, has moved to suppress all evidence seized during the

traffic stop. See United States v. Sowers, 136 F.3d 24, 27 (1st Cir. 1998) (holding that

a passenger may challenge the detention resulting from a traffic stop). She argues

that the investigatory stop violated her Fourth Amendment rights because the stop

was not supported by reasonable articulable suspicion that a traffic violation had

occurred. She also maintains that Darcy’s prolonged investigation exceeded the

constitutionally permissible scope of the traffic stop.

I.    Legal Standard

      The Fourth Amendment protects “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.”

U.S. Const. amend. IV. “Temporary detention of individuals during the stop of an

automobile by the police, even if only for a brief period and for a limited purpose,

constitutes a ‘seizure’ of ‘persons’ within the meaning of this provision.” Whren v.

United States, 517 U.S. 806, 809–10 (1996). Therefore, “that detention must be

reasonable in order to pass constitutional muster.” United States v. Ruidíaz, 529 F.3d

25, 28 (1st Cir. 2008) (citing Terry v. Ohio, 392 U.S. 1, 19 (1968); United States v.

Chhien, 266 F.3d 1, 5–6 (1st Cir. 2001)). There are two parts to this reasonableness



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requirement in the investigatory traffic stop context. “First, a police officer must have

a reasonable, articulable suspicion of an individual’s involvement in some criminal

activity in order to make the initial stop.” Ruidíaz, 529 F.3d at 28 (citing Terry, 392

U.S. at 21; Chhien, 266 F.3d at 6). “Second, actions undertaken pursuant to that stop

must be reasonably related in scope to the stop itself ‘unless the police have a basis

for expanding their investigation.’ ” Id. at 28–29 (citing United States v. Henderson,

463 F.3d 27, 45 (1st Cir. 2006)).

      The initial “traffic stop is constitutional if an officer has a reasonable suspicion

of unlawful conduct involving a motor vehicle or its operation.” United States v.

Jenkins, 680 F.3d 101, 104 (1st Cir. 2012) (citing Chhien, 266 F.3d at 5–6).

Reasonable suspicion “requires more than a naked hunch that a particular person

may be engaged in some illicit activity.” Chhien, 266 F.3d at 6. To satisfy the

reasonable suspicion standard, a police officer “ ‘must be able to point to specific and

articulable facts which, taken together with rational inferences from those facts,’

justify an intrusion on a private person.” United States v. Jones, 700 F.3d 615, 621

(1st Cir. 2012) (quoting Terry, 392 U.S. at 21). Reasonableness “must be judged

according to objective criteria”—not “an individual officer’s subjective motives.”

Ruidíaz, 529 F.3d at 29. “Because reasonable suspicion requires a particularized and

objective basis for suspecting an individual of criminal activity, courts ‘view the

circumstances through the lens of a reasonable police officer,’ looking to the totality

of the circumstances to determine whether reasonable suspicion existed.” United

States v. McDonald, 804 F.3d 497, 502 (1st Cir. 2015) (quoting United States v.




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Dapolito, 713 F.3d 141, 148 (1st Cir. 2013)). The government bears the burden of

showing such a particularized and objective basis for suspecting criminal activity.

United States v. Monteiro, 447 F.3d 39, 43 (1st Cir. 2006). In reviewing a traffic stop,

the court must “look to the facts ‘available to the officer at the moment of the seizure

or the search.’ ” Jones, 700 F.3d at 621 (quoting Terry, 392 U.S. at 22). “This inquiry

is fact-sensitive, and the requisite objective analysis must be performed in real-world

terms.” Ruidíaz, 529 F.3d at 29. Put another way, “the court must make a practical,

commonsense judgment based on the idiosyncracies of the case at hand.” Jones, 700

F.3d at 621 (quoting Chhien, 266 F.3d at 6).

II.   The Initial Traffic Stop

      The Government maintains that Darcy’s traffic stop was supported by

“reasonable articulable suspicion that Green either was impaired or committed a

traffic violation when he repeatedly made contact with the fog line over a short period

of time.” Gov’t’s Obj. to Def,’s Mots. [sic] to Suppress Evid. (“Gov’t’s Opp’n”) 5 (ECF

No. 59). The Government contends that three circumstances justified the stop: “(1)

the late hour of the stop; (2) Green contacting the fog line three times in under one

minute; and (3) Green barely maintaining the minimum speed of 45 miles-per-hour.”

Gov’t’s Opp’n 6. The Government also notes that the stop was properly motivated by

a public safety concern based on “Green’s repeated contact with the fog line and his

slow speed.” Gov’t’s Opp’n 6 n.2. For the reasons that follow, the Government’s

argument fails both on the facts and the law.




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       A.      The Factual Basis for the Stop

       I begin with the issue of whether the “late hour” provided grounds to support

the stop, and I dismiss it out of hand. It seems excessive to call 10:24 pm a particularly

suspicious time. In the first three minutes of the video, fifty vehicles are seen

traveling on the highway. While I am familiar with the expression, “nothing good

happens after midnight,” a lot of people are still out and going about legitimate

business at 10:30 pm. I do not believe that the fact that it was 10:24 pm adds much,

if anything, to the basis for the stop.

       As to the issue of the lane violation, Darcy has offered inconsistent versions of

what happened. Darcy—who was the only witness at the evidentiary hearing—

testified that he observed Green’s minivan go “onto and over the fog line on three

separate occasions” within the one minute of travel recorded by his cruiser camera.

He wrote in his report that he saw the minivan “cross the fog line into the breakdown

lane on three separate occasions.” And in the exchange captured on video, when Darcy

was informing Green and Boyd of the reason for the stop, he said Green was “swerving

into the right lane” “two times, almost three times.” Darcy also told Green that “a

couple times” it looked like Green was “going to go off into the ditch or something.”

       The cruiser cam video enables me “to observe exactly what Trooper Darcy

observed when he made the decision to execute the challenged traffic stop.” 9 Gov’t’s

Opp’n 7. The cruiser cam video squarely refutes Darcy’s versions of the events that




9      The Government conceded that nothing that the vehicle did before the cruiser cam video starts
would have supported a stop.



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night. Not once did Green’s minivan “swerve” as Darcy claimed it did. 10 Not once did

Green’s minivan look like it was going to go into a ditch. Not once—let alone on three

separate occasions—did Green’s minivan cross the fog line and go into the breakdown

lane. Yet, even with video evidence to the contrary, Darcy claimed under oath that he

observed Green’s car go “onto and over the fog line” on three different occasions within

the one-minute timeframe captured by the cruiser cam.

       As to the issue of speed, the only evidence of the speed that Green was traveling

was the statement Darcy made to Green when he pulled him over that he was “going

like 45” and Darcy’s testimony at the hearing that, prior to stopping Green’s vehicle,

he observed it “traveling approximately 45 miles per hour.” The minimum speed limit

on the highway is forty-five miles per hour, so even if Green were traveling forty-five

miles per hour, that would not provide the reasonable articulable suspicion necessary

to pull the minivan over.

       There are, however, reasons to doubt Darcy’s testimony that Green was

“traveling approximately 45 miles per hour.” First, as noted above, Darcy exaggerated

the minivan’s movements to Green; the minivan never swerved into the right lane or

seemed headed for the ditch. This gives me reason to believe that Darcy was also

exaggerating the slowness of the vehicle. Second, Darcy did not mention the

minivan’s speed in his report, which I find an odd omission if it were really part of

the basis for his stop. Third, Darcy did not testify at trial about how he estimated the



10     The Government conceded at the hearing that Green did not swerve into the breakdown lane.
Counsel for the Government tried to explain that “[t]he word swerve was inaccurate, inartful.” I find
that Darcy’s statement that Green was swerving out of his lane was more than inartful; it was untrue.



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minivan’s speed. There is no indication that Darcy used radar equipment, and Darcy

did not testify that he determined Green’s speed by keeping pace with the minivan

and noting the speed of travel. See United States v. Ruiz, 832 F. Supp. 2d 903, 916

(M.D. Tenn. 2011) (noting that whether vehicle was speeding would not be in dispute

if officers had “simply used the technology at their disposal to create documentary

evidence” of the defendant’s speed). I cannot tell from the video the exact speed of the

minivan during the one minute preceding the stop, but it would have been possible

to ascertain the exact speed of the vehicle using the video if the Government had

wanted to do so. 11

        Further undercutting Darcy’s credibility as to the speed of the vehicle and the

basis for the stop was the evidence about when (and why) Darcy began following

Green. When Darcy initiated the stop at 10:24 pm, Green’s minivan was at Mile 13.5

of the Maine Turnpike headed northbound. But Darcy conducted an earlier BMV

query of Green’s car at 10:18, approximately six minutes before the stop. This means

that Darcy started following Green’s car at least six minutes before he pulled it over.

The Government has conceded that no traffic violation occurred before the cruiser

camera started recording (five minutes after Green’s car was called in). The timing

here begs the question, unanswered by Darcy, of why he called in the license plate

and where he was when he called it in.


11       It takes the vehicle about forty seconds to travel from Mile 13 to Mile 13.5, where it is pulled
over, which equals an average speed of forty-five miles per hour. But that average includes the time it
takes Green to slow down and come to a complete stop, so he likely was driving faster than forty-five
miles per hour prior to that. It would have been fairly simple to ascertain the exact speed of travel
earlier in the video by taking some measurements and performing a simple math equation, but the
Government did not introduce any such evidence.



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       The defense elicited that, in June of 2019, the York toll plaza was located

around Mile 7 12 of the Maine Turnpike—a little over six miles from where Darcy

stopped Green’s minivan. At the hearing, Darcy was asked whether he first observed

Green and Boyd as they were traveling northbound through the York toll plaza, and

Darcy testified that he did not know where he initially saw them. 13 Darcy conceded

on cross-examination that he sometimes would position his cruiser at the York toll

plaza so that he could observe the occupants in the cars as they slowed down and

came through those tolls. 14 And he admitted that he would look for things that might

catch his eye and that he would follow the cars if he had a “gut feeling” that some

criminal behavior might be afoot. This is consistent with statements that Darcy made

to a fellow trooper in 2019. 15 In this conversation, Darcy indicated that when his

suspicions were aroused, he would sometimes run a car’s registration before he saw

a driver commit any infraction. And he also said that he follows cars if he sees a guy




12       Defense counsel asked Darcy if the York Toll Plaza was at Mile 7.3 in 2019 and he responded,
“I believe it was around 7, yes.”
13      In his report, Darcy writes: “I was traveling northbound on the Maine turnpike in York. I
observed ME PC 6032WV [the minivan’s license plate] traveling ahead of me.” The implication from
the report is that both vehicles were traveling northbound and that Darcy had not seen Green before
the stop.
14     Darcy indicated that at the time of the stop, he was a Maine State Police Trooper who was
assigned to Troop G, which patrolled the Maine Turnpike from Kittery to Augusta, Maine.
15      The 2019 conversation was recorded, and it was used as evidence in a suppression hearing in
United States v. Fagan, No. 2:19-cr-123-DBH, 2021 WL 3262139, at *1 n.1 (D. Me. Jul. 29, 2021). In
April of 2021, Darcy was interviewed about this 2019 conversation during a Maine State Police
internal investigation into complaints that Darcy was engaged in racial profiling. Defense counsel
introduced a redacted transcript of this internal investigation interview with Darcy as Defendant’s
Hearing Exhibit 1.



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“wearing a wife-beater,[16] he’s got dreads, he looks like a thug.” United States v.

Fagan, No. 2:19-cr-123-DBH, 2021 WL 3262139, at *1 n.1 (D. Me. Jul. 29, 2021).

        Based on Darcy’s testimony and the facts about when Darcy called in Green’s

license plate and where the minivan was pulled over, an inference can be drawn that

Darcy first saw the minivan carrying Green and Boyd at the York toll plaza a little

over six miles south of where he made the traffic stop. And a further inference can be

drawn that Green was traveling closer to sixty miles per hour as he headed north

toward Bangor. 17 These reasonable inferences further undermine Darcy’s claim that

he pulled the vehicle over in part because it was traveling forty-five miles per hour. 18

        Finally, I address the Government’s footnoted claim that the stop was justified

because the vehicle was being operated in an unsafe fashion. There was no other

northbound traffic on the Turnpike seen on the video before the stop. Even assuming

that Green touched the inside of the fog line on three occasions and accepting that

Green stayed to the right side of the far-right lane, he was not weaving or swerving

in the lane, and he was maintaining a steady speed. Furthermore, Green’s position


16       The term “wife-beater” in this context refers to an “undershirt[ ] with thin straps or no sleeves,
as in a ‘tank’ undershirt.” See, e.g., Mota v. Warden, Lebanon Corr. Facility, No. 1:09-cv-233, 2010 WL
1727867, at *4 (S.D. Ohio Mar. 30, 2010), report and recommendation adopted, No. 1:09-cv-233, 2010
WL 1727883 (S.D. Ohio Apr. 27, 2010).
17     A vehicle traveling an average of sixty-two miles per hour would travel 6.2 miles in six
minutes.
18      They may also explain Darcy’s actual motivation for pulling Green over, but a police officer’s
subjective motivations for a stop are not relevant in a Fourth Amendment analysis. See Whren v.
United States, 517 U.S. 806, 813 (1996) (“Subjective intentions play no role in ordinary, probable-
cause Fourth Amendment analysis.”); United States v. Favreau, 886 F.3d 27, 30 (1st Cir. 2018) (noting
that police officers’ “ulterior motive is of no consequence under the Fourth Amendment”). I use these
inferences solely to assess the credibility of Darcy’s account. See Ornelas v. United States, 517 U.S.
690, 700 (1996) (part of Fourth Amendment analysis is determining whether the police officer is
credible).



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to the right side of the far-right lane and his lower speed were likely a product of the

fact that Darcy had been following him for at least six minutes. Many drivers would

move right and slow down if a marked police cruiser were hovering just behind them.

I do not credit Darcy’s claim that Green’s operation of the vehicle suggested

impairment or distraction, in part because Darcy was generally not a very credible

witness and in part because the video tells a different story. There is nothing on the

video that I would consider unsafe operation.

      B.     The Asserted Legal Authority for the Stop

      Even assuming that Green’s vehicle did in fact contact the fog line, it is not

clear to me that touching the fog line is a violation of Maine’s traffic laws. Under

Maine law, “[a] vehicle must be operated as nearly as practical entirely within a

single lane.” 29-A M.R.S. § 2051(1). Section 2051(1) does not specify whether merely

touching a lane-marking line constitutes a violation of a driver’s obligation to operate

the vehicle “as nearly as practical entirely with a single lane.” Nor does the statute

define where the lane begins and ends. It could be at the inner edge of the fog line,

the outer edge of the fog line, or somewhere in between. That makes the law

ambiguous as to what counts as “out of bounds” for traffic violation purposes.

      The Law Court has held that whether a vehicle has violated that Maine statute

is a fact-specific inquiry, and “[t]here is no precise number of line touchings or

crossings by a vehicle operator that delineates a constitutionally justified stop from

an unjustified one.” State v. Laforge, 2012 ME 65, ¶ 10, 43 A.3d 961 . Indeed, the Law

Court has also held that a driver’s “brief, one-time straddling of the center line of an

undivided highway”—a movement substantially more dangerous than Green’s—did


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not support the officer’s subjective suspicion that the defendant was either

intoxicated or asleep. See State v. Caron, 534 A.2d 978, 979 (Me. 1987). And the cases

where the Law Court has held that a stop was justified based on a lane violation have

involved additional intelligence or considerably more egregious facts than here. See

Laforge, 2012 ME 65, ¶ 13, 43 A.3d 961 (traffic stop warranted where officer saw

defendant drive onto the center line twice, then cross the fog line twice with his

passenger-side tires, and then cross the center line with his driver-side tires twice

more); State v. Porter, 1008 ME 175, ¶¶ 2, 12, 960 A.2d 321 (traffic stop permissible

where the defendant drove onto the fog line, then crossed over the center line by a

foot, and then drove onto the center and fog lines again, within a quarter-mile); State

v. Lafond, 2002 ME 124, ¶¶ 2, 4, 13 , 802 A.2d 425 (investigatory traffic stop

warranted where a police officer had received a specific anonymous tip of a possibly

intoxicated driver and the officer saw the defendant’s vehicle swerving and crossing

the fog line); State v. Brown, 675 A.2d 504, 505 (Me. 1996) (traffic stop satisfied

reasonable and articulable suspicion standard where the officer saw the vehicle

abruptly cross over the center line and then jerk to the right and strike the fog line

while varying its speed, twice going as low as ten mph before speeding up); State v.

Pelletier, 541 A.2d 1296, 1296–97 (Me. 1988) (traffic stop supported where the officer

followed the vehicle for four to five miles and observed the vehicle cross the center

line three times and drift onto the shoulder once); cf. United States v. Beauregard,

No. 2:18-cr-00192-JAW, 2019 WL 2619530, at *5, 7 (D. Me. June 26, 2019) (traffic

stop authorized where DEA agent had conducted prior surveillance of the car and




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alerted police that its operator was suspected of drug trafficking, and the officer

observed the car follow too closely behind another vehicle and weave three times,

twice with the left tire over the lane markers); United States v. O’Connell, No. 2:19-

cr-00017-GZS, 2019 WL 2396560, at *1, 3 (D. Me. June 6, 2019) (traffic stop supported

where the officer followed the truck for a few miles after receiving a drug trafficking

tip from Maine DEA, and the officer saw the truck remain in the middle lane without

actively passing other vehicles and saw it cross the lane dividers at least once and

jerk side-to-side within the lane multiple times).

      Two opinions from other federal district courts interpreting similar state traffic

lane laws are persuasive. In United States v. Sugar, 322 F. Supp. 2d 85 (D. Mass.

2004), a sheriff’s department officer was patrolling a stretch of highway in Missouri,

known to be a drug pipeline route, when he saw a recreational vehicle (“RV”) with

Vermont plates. Id. at 88–89. There were two lanes and a shoulder on the side of the

divided highway where the RV was traveling, and the RV was driving in the right

lane. Id. at 89. The officer trailed the RV in the passing lane for a half-mile, looking

for a traffic violation that would provide grounds for a stop because the officer wanted

to search the vehicle for drugs. Id. The officer “finally saw the right rear tire go

completely over the ‘fog line’ ” and pulled over the RV. Id. A subsequent dog sniff and

search of the vehicle revealed that the RV was carrying drugs. Id. at 90. In the

criminal matter brought against the RV’s occupants in the federal district court in

Massachusetts, the court granted the defendants’ motion to suppress the drug

evidence. Id. at 88. At the evidentiary hearing, the officer testified that he had




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probable cause to stop the RV because he saw its rear tires cross over the fog line and

into the right shoulder three times. Id. at 91. Missouri has a traffic statute that is

similar to Maine’s and requires that a vehicle “be driven as nearly as practicable

entirely within a single lane.” Id. (quoting Mo. Rev. Stat. § 304.015.5). The court

found it “highly unlikely” that the RV’s “wheels went substantially onto the shoulder

three times” while the marked cruiser was following it and the driver was aware of

the officer’s presence and attempting to comply with traffic laws. Id. at 92. And the

court held that a one-time crossing of the fog line (which the court found had occurred)

did not violate the Missouri statute because “the phrase ‘as nearly as practicable’

indicates that the statute was not intended to comprehend minor swerving.” Id. at

91. Therefore, the officer’s stop of the RV was not reasonable or justified by probable

cause under the state traffic law and the drug evidence was “suppressed as the fruit

of the poisonous tree.” Id. at 92.

      And in United States v. Williams, No. 5:13-cr-50, 2014 WL 412526 (D. Vt. Feb.

3, 2014), the federal district court analyzed in the suppression context an asserted

violation of a statute that is nearly identical to Maine’s Section 2051(1). In Williams,

the trooper saw the defendant’s vehicle “coming close to the dotted center line” and

then soon after “cross the passing lane demarcation.” Id. at *1 (internal quotation

marks omitted). Based on this, the trooper initiated the traffic stop that ultimately

led to evidence of drug distribution. In its review, the court noted that “[t]he rule of

lenity requires ambiguous criminal laws to be interpreted in favor of the defendants

subjected to them.” Id. at *5 (quoting United States v. Santos, 553 U.S. 507, 514




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(2008) (plurality opinion)). This “venerable rule” serves to “vindicate[ ] the

fundamental principle that no citizen should be held accountable for a violation of a

statute whose commands are uncertain, or subjected to punishment that is not clearly

prescribed.” Id. (quoting Santos, 553 U.S. at 514). After reviewing state court

opinions, the federal district court concluded that, under Vermont’s lane-maintaining

law, “momentarily touching a passing lane demarcation with no risk to public safety

does not give rise to a failure to ‘remain entirely’ in a single lane ‘as nearly as

practicable.’ ” Id. at *5–7. Therefore, the state trooper’s stop was unlawful, and the

defendant’s seizure violated the Fourth Amendment. Id. at *7.

       Here, I conclude that Green’s three de minimis contacts with the inner edge of

the fog line (if they occurred at all), with no other indicators of impaired driving or

danger to public safety, do not constitute a violation of Maine’s traffic laws sufficient

to justify the stop. Viewing the totality of the circumstances through the lens of a

reasonable police officer, there was no basis, in fact or in law, to suspect Green of a

traffic violation. Because the Government fails to meet its burden of showing a

particularized and objective basis for stopping Green’s car, I find that Darcy’s initial

stop was not justified by reasonable articulable suspicion and therefore violates the

Fourth Amendment.

III.   The Subsequent Investigation

       Because I conclude that the initial stop was unconstitutional, I do not reach

the Defendant’s second argument that Darcy further violated Boyd’s Fourth

Amendment rights by extending the detention beyond the time necessary to address

the traffic violation underlying the stop.


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                                CONCLUSION

      For the reasons stated above, I GRANT the Defendant’s motion to suppress.



SO ORDERED.

                                              /s/ Nancy Torresen
                                              United States District Judge

Dated this 15th day of November, 2021.




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